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WESTERN DISTRICT OF WASHINGTON

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IN THE UNITED STATES DISTRICT COURT

IN AND FOR THE WESTERN DISTRICT OF WASHINGTON

Eric S. Freeze, Case No. 2: 23-CV-01135-JLR

Plaintiff,

VS.

ELIZABETH E. GALLAGHER, JOSE T.
ACUNA, ANN G. FREEZE REVOCABLE
TRUST, and the RONALD L. FREEZE
REVOCABLE TRUST, JAMES MASSINGALE
AND ANGELA MASSINGALE,

Defendants

DECLARATION OF SERVICE

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DECLARATION OF SERVICE

I, Derrill Fussell declare as follows;

I am over the age of 18 years and competent to provide this declaration.

On or about the 9th day of September 2024, I caused to be served via USPS Certified Mail-
702204 10000082323244, at or about 4:30 at a USPS Post office, Skagit County WA a true and
correct copy of the NOTICE OF APPEAL AND STATEMENT OF ISSUES

and this Declaration of Service for this Case No. 2 : 23-CV-01135-RSM, to the following;

DECLARATION OF SERVICE - | of 1 Court/ACUNA/GALLAGHER

Case 2:23-cv-01135-JLR Document 88-1 Filed 09/11/24 Page 2 of 3

Name: CLERK U.S. DISTRICT COURT
700 Stewart St. Ste. 2310
Seattle, WA 98101

And

Name: CRAIG CAMMOCK.  70220410000082323251
P. O. Box 336
Mount Vernon, WA 98273

And

Name: PAUL W. TAYLOR  70220410000082323268
20388 Eric ST.
Mount Vernon, WA 98274

I declare under penalty of perjury that the foregoing is true and correct.

Siened od : oy 2024

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LT

\] Signature

Derrill Fussell
929 E College Way
Mount Vernon, WA, [98273]

DECLARATION OF SERVICE - 2 of | Court/ACUNA/GALLAGHER

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Eric Freeze
PO Box 12

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